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                                       DIAMANT v. UTGR et al.
                                     PROPOSED VERDICT FORM


     1. Has the plaintiff, Dan Diamant, proved it is more likely than not that his right to be free
        from unreasonable search and seizure under the Fourth Amendment of the United States
        Constitution?

                        YES:______      NO:______

        If your answer is YES, proceed to Question 2. If NO, proceed to Question 3.

     2. Which of the following defendants have violated Mr. Diamant’s right to be free from
        unreasonable search and seizure? (Check ALL that apply)

        UTGR-Twin River:               ______

        Officer Joseph Anterni:        ______

        Officer Russell Enos:          ______

        Corporal Lawens Fevrier        ______

     3. Has the plaintiff, Dan Diamant, proved it is more likely than not that he was falsely
        imprisoned?

                        YES:_____      NO:______

        (If your answer is YES, proceed to Question 4.)


     4. Which of the following defendants falsely imprisoned Mr. Diamant?

        UTGR-Twin River:               ______

        Officer Joseph Anterni:        ______

        Officer Russell Enos:          ______

        Corporal Lawens Fevrier        ______

     5. What compensatory damages do you award to Mr. Diamant as to each defendant?

        UTGR-Twin River:               ______________________
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        Officer Joseph Anterni:       ______________________

        Officer Russell Enos:         ______________________

        Corporal Lawens Fevrier       ______________________


     6. What punitive damages do you award to Mr. Diamant as to each defendant?

        UTGR-Twin River:              ______________________

        Officer Joseph Anterni:       ______________________

        Officer Russell Enos:         ______________________

        Corporal Lawens Fevrier       ______________________




                                         CERTIFICATION

         The undersigned certifies that a true copy of this proposed verdict form was served via
     electronic mail and via ECF Paul R. Crowell, Engleberg and Bratcher, 100 High Street,
     Boston, MA 02110, Brenda Baum, Rhode Island Department of Attorney General, 150 S.
     Main Street, Providence, RI 02903, and Marc DeSisto, 60 Ship Street, Providence, RI 02903
     on 20th of November, 2020.

                                             ___/s/ Thomas G. Briody___
